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                                                                                                 2016 Apr-04 PM 06:47
                                                                                                 U.S. DISTRICT COURT
                                                                                                     N.D. OF ALABAMA


                           UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ALABAMA



PAMELA LEMONS,                          )
                                        )
           Plaintiff,                   )
                                        )
v.                                      )                Civil Action No. 4:15-cv-00368-VEH
                                        )
UNITED CREDIT SPECIALIST                )
RECOVERY;                               )
GUIDIVILLE RANCHERIA OF                 )
CALIFORNIA;                             )
MICHAEL DERRY;                          )
JEFF WINTERS;                           )
JOEY CAPO; and                          )
DOE 1-5,                                )
                                        )
          Defendants.                   )
                                        )
_______________________________________ )

                                  NOTICE OF SETTLEMENT

       NOTICE IS HEREBY GIVEN that plaintiff Pamela Lemons and defendants

GUIDIVILLE RANCHERIA OF CALIFORNIA and MICHAEL DERRY have reached a

settlement in the above-captioned case. Plaintiff expects the settlement to be consummated by

April 8, 2016, at which time Plaintiff expects to file a voluntary dismissal of the entire action.



Date: April 4, 2016
                                                 s/ Robert Amador
                                                 ROBERT AMADOR, ESQ.
                                                 Attorney for Plaintiff PAMELA LEMONS
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                                 CERTIFICATE OF SERVICE

       I certify that on this date, April 4, 2016, I electronically filed the foregoing with the

Clerk of Court using the CM/ECF system, which will send notification of such filing to the

following parties receiving ECF notices:


GUIDIVILLE RANCHERIA OF CALIFORNIA
401B Talmage RD
Ukiah, California 95482

MICHAEL DERRY
401B Talmage RD
Ukiah, California 95482



                                                s/ Robert Amador
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